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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                     Plaintiff,                 Case No: 08-20669-9
 v.

 JUAN GABRIEL LARA-TELLO,

                 Defendant.
 ___________________________/

                         ORDER GRANTING GOVERNMENT’S
                             MOTION FOR DETENTION

       This matter has come before the court for a de novo review of the government’s

 appeal of Magistrate Judge R. Steven Whalen’s order for bond as to defendant Juan

 Gabriel Lara-Tello. For the reasons fully stated on the record the government’s appeal

 of the Magistrate Judge’s order is GRANTED that the defendant is remanded to the

 custody of the US Marshals to be detained.

                                          S/Robert H. Cleland
                                         ROBERT H. CLELAND
                                         UNITED STATES DISTRICT JUDGE

 Dated: September 22, 2015


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, September 22, 2015, by electronic and/or ordinary mail.


                                          S/Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (313) 234-5522
